         Case 1:17-cv-05429-KPF Document 585 Filed 10/26/20 Page 1 of 2




                                 Colleen Ni Chairmhaic
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                                                                     October 26, 2020
Hon. Katherine Polk Failla
United States District Court

                                                            MEMO ENDORSED
Southern District of New York
Court Room 610
40 Foley Square
New York, NY 10007

                                         Re                  : Abraham v Leigh
                                         Case No.           : 17-cv-5429 (KPF)

To the Honorable Judge Failla:

       I am former counsel for Plaintiff, of counsel to Wiss & Partners LLP at all relevant times.

        At Ms. Abraham’s request, this court held ancillary jurisdiction over a fee dispute. This fee
dispute coincided with our motion to withdraw as Ms. Abraham’s counsel after we achieved a
settlement with two of the Defendants. The terms of our withdrawal were agreed to with Plaintiff
on October 7, 2019. Ms. Abraham had an opportunity to consult with another attorney to review
the terms of the withdrawal and fee dispute resolution. Ms. Abraham did consult with Mark Rifkin
of Wolf Haldenstein Adler Freeman & Herz LLP, and then Ms. Abraham accepted consideration
for the peace clause we offered as part of the stipulated withdrawal. Ms. Abraham moved for the
terms of the stipulation to be court ordered. Ms. Abraham represented that there were no
administrative proceedings or disputes with us, her then counsels, to enable the court to permit said
limited representation through October 29, 2019. The terms of the stipulation were court ordered
on October 29, 2019. Thereafter, Ms. Abraham moved for the undersigned to be reinstated as her
counsel for her action against the remaining Defendant. We objected to representing Ms. Abraham
and our objection was sustained.

        We are in receipt of the many Court Orders with respect to Ms. Abraham's subsequent
filings about us, her former counsel, on the public docket. We would respectfully request that the
documents at #579 and #581, which Ms. Abraham filed on October 19, 2020, be sealed. These
submissions, which echo prior sealed submissions by Ms. Abraham, pertain to personal and
sensitive matters about her former counsels which are decidedly irrelevant to this case. Many of the
assertions are false, misleading and/or not supported by the evidence. In the interest of candor, we
note that Ms. Abraham made these filings in the hours prior to the Court Order which enjoined
Plaintiff from further such filings about her former counsels on the public docket absent leave of
court.
           Case 1:17-cv-05429-KPF Document 585 Filed 10/26/20 Page 2 of 2




      We hope this ends our involvement in this case and closes the court’s jurisdiction over this
  ancillary matter.

             Respectfully submitted,




                                       By Colleen Ni Chairmhaic, Esq.

  cc
  Robyn Abraham



Due to the sensitive nature of the information contained therein,
the Clerk of Court is directed to seal docket entries 579 and 581,
to be viewable only to the Court and the parties.

Dated:       October 26, 2020                   SO ORDERED.
             New York, New York



                                                HON. KATHERINE POLK FAILLA
                                                UNITED STATES DISTRICT JUDGE
